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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  IN RE VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY                     No. 1:19-md-2875-RBK
  LITIGATION
                                                    Hon. Robert B. Kugler
  This document relates to:                        Hon. Thomas I. Vanaskie
  All Actions


   PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO COMPEL
    AND PLAINTIFFS’ CROSS-MOTION FOR A PROTECTIVE ORDER
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     I.      INTRODUCTION

          More than a year after the close of formal fact discovery (D.E. 864), and more

  than two years after Plaintiffs were Court-ordered to issue all subpoenas to third-

  parties (D.E. 575), the Defendants are, only now, attempting to seek discovery via a

  Rule 45 subpoena from an irrelevant pharmacy which has nothing to do with the

  products, claims or issues in this case. As the well-developed factual record shows,

  at no point have Plaintiffs or Defendants sought testimony about Valisure (or the

  findings contained within its Citizen Petition from 2019). Defendants’ dilatory

  request is made even more prejudicial by the fact that since the formal close of fact

  discovery, the Parties have fully briefed issues related to general causation, Class

  Certification, and have exchanged liability expert reports related to the underlying

  merits issue in this case.

          Defendants claim that the information they seek from Valisure is somehow

  germane to probing the reliability of Plaintiffs’ experts (notably, Dr. Ron Najafi),

  but this argument is without merit, and contrary to the actual expert discovery

  Defendants are pursuing in depositions of Plaintiffs’ liability experts. As it relates

  specifically to Dr. Najafi, Defendants have already sought (and received), any and

  all information that might bear upon the reliability of his expert methodology that

  could be found within his own possession, custody and control. The internal testing

  or documentation conducted by a third-party (whose findings are already

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  memorialized and delineated in a Citizen Petition publicly available since 2019), has

  no bearing whatsoever to the reliability of Plaintiffs’ remaining experts and should

  play no role in the Daubert analysis. Moreover, given Valisure’s checkered past,

  Plaintiffs will experience real and cognizable harm in expending time, money and

  resources assessing whatever documents might be produced by this subpoena, and

  attempting to assess the credibility of the laboratory.

           In light of the posture of this litigation, Plaintiffs request that the Court deny

  the Defendants’ motion to compel and issue a protective order quashing the

  subpoena duces tecum to Valisure (hereafter “Valisure Subpoena”) attached as

  Exhibit A.

     II.      FACTUAL BACKGROUND


           On December 14, 2022, Defendant ZHP provided notice that they were

  serving a subpoena on Valisure. Valisure subsequently objected to the subpoena on

  December 28, 2022, on the grounds that it was untimely, and indicated it would not

  produce documents. Plaintiffs met and conferred with Defendants on December 28,

  2022, and again on January 3, 2022.

           As Plaintiffs articulated to Defendants on their meet-and-confer, fact

  discovery in this litigation ended over a year ago, on August 2, 2021. See D.E. 864.

  Additionally, more than two years ago, Plaintiffs were ordered by the Court to serve

  any and all subpoenas they intended to serve upon third parties by October 15, 2020.

  D.E. 575. The subpoenas Plaintiffs issued on October 15, 2020, were subject to
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  extensive and protracted briefing by the Parties. See D.E. 652, et. seq. During that

  protracted briefing, the Parties met and conferred countless times, and the Court

  heard hours of oral argument regarding third-party discovery.

        For their part, Defendants have taken third-party discovery from almost sixty

  (60) physicians and TPPs. This discovery was initiated by Defendants in advance

  of the August 2021 deadline. They rightly have not pursued any other third-party

  discovery since, until now.


     III.   LEGAL STANDARD

        “A Rule 45 subpoena must fall within the scope of proper discovery

  under Fed. R. Civ. P. 26(b)(1).” Schmulovich v. 1161 Rt. 9 LLC, 2007 U.S. Dist.

  LEXIS 59705 at *2 (D.N.J. Aug.15, 2007). Although discovery is “undeniably

  broad, there are limits to the permissible scope of discovery.” Koninklijke Philips

  N.V. v. Hunt Control Sys., Inc., 2014 U.S. Dist. LEXIS 52347, at *2 (D.N.J. Apr. 16,

  2014); see also Raritan Bay Fed. Credit Union v. CUMIS Ins. Soc’y, Inc., 2010 U.S.

  Dist. LEXIS 112640, at *10 (D.N.J. Oct. 21, 2010). The relevancy standard “is not

  so liberal as to allow a party to roam in shadow zones of relevancy and to explore

  matter which does not appear germane merely on the theory that it might become

  so.” Id. at *6. Courts also have inherent discretion to enforce their own scheduling

  and case management orders, such as the Court’s prior case management orders here

  that required the parties to complete all fact discovery more than one year ago.


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            a. The Court has Inherent Discretion to Issue a Protective Order
               Quashing a Subpoena

         The Court is entitled to issue a protective order if the requesting party

  demonstrates either that the requested discovery does not fall within Rule 26, or that

  the requested discovery imposes an unreasonable burden, or is otherwise interposed

  for purposes of harassment or undue delay. Fed. R. Civ P. 26(b)(2)(C)(iii).


                    i. The Court Can Sua Sponte Quash the Subpoena for Being
                       Untimely

         If the subpoena is deemed untimely, even without this instant motion the

  Court has the authority to quash the subpoena even without motion.1 This authority

  is also rooted in Fed. R. Civ. P. 16(f) which authorizes a district court to issue, sua

  sponte, “any just orders … if a party or its attorney … fails to obey a scheduling or

  other pretrial order.” Mulero-Abreu v. P.R. Police Dep’t, 675 F.3d 88, 91 (1st Cir.

  2012) (citing Fed. R. Civ. P. 16(f)(1)(C)).




  1
    See Galloway v. Islands Mech. Contractor, Inc., Civil Action No. 2008-071, 2013 U.S. Dist.
  LEXIS 5232, at *12 (D.V.I. Jan. 14, 2013); see, also, McNerney v. Archer Daniels Midland Co.,
  164 F.R.D. 584, 588 (W.D.N.Y. 1995) (opining that even if a party does not have standing to
  object to a subpoena issued to a third-party witness, a more “fundamental problem[]” with
  the subpoena arises when the opposing party “is seeking to conduct discovery after the deadline
  for completing discovery has passed” and, under those circumstances, “the subpoenas and
  discovery requests should be denied.”).
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                 ii. The Court Can Sua Sponte Quash the Subpoena for Being
                     Irrelevant

        If the information requested by a subpoena does not meet the baseline Rule

  26 standard of relevance, the Court must issue a protective order quashing such a

  subpoena without further inquiry. See Cooper Health System v. Virtua Health, Inc.,

  259 F.R.D. 208, 216 (D.N.J. 2009) (motion for protective order granted where

  discovery sought had nothing to do with the issues in the case and requesting party’s

  hope that responses to non-relevant requests may contain relevant information does

  not justify an improper request); Raritan Baykeeper, Inc. v. NL Industries Inc., Civ.

  No. 09-4117 2014 WL2965881 *7 (D.N.J. July 1, 2014) (discovery requests

  improper because they had “no relevance” to any element of the claim plaintiff must

  prove).


     IV.    ARGUMENT

            a. Plaintiffs Have Standing to Seek a Protective Order Quashing the
               Valisure Subpoena

        Despite not having been the recipient of the subpoena, Plaintiffs have standing

  under Rule 26 to move for a protective order to enjoin the production of irrelevant

  information for subpoenas issued to non-party. Aetrex Worldwide, Inc. v. Burten

  Distrib., Inc., 2014 U.S. Dist. LEXIS 172857, at *5 (D.N.J. Dec. 15, 2014); see also

  In re Actiq Sales & Mktg. Practices Litig., 2011 U.S. Dist. LEXIS 130153, at *3

  (W.D. Pa. Nov. 10, 2011) (“The explicit mention of a ‘party’ in [Fed.R.Civ.P. 26(c)]


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  has been interpreted to provide standing for a party to contest discovery sought from

  third-parties.”).


            b. The Valisure Subpoena is Untimely

         There can be no dispute that Defendants’ subpoena to Valisure is untimely.

  This Court ordered that Plaintiffs were required to issue all subpoenas on October

  15, 2020, and that all depositions of third parties were to be completed when the

  second (and final) wave of discovery was to be completed on August 15, 2021.

         Defendants cannot credibly claim that this subpoena was only served now

  because the information it seeks was unknown to them until December of 2022. The

  Citizen Petition that forms the foundation of this subpoena was submitted (and

  published to the public domain) on June 13, 2019. Defendants consequently had

  more than two years to subpoena records from Valisure, to the extent they believed

  such records were somehow necessary for their claims and defenses. Instead,

  Defendants opted to subpoena this entity forty-five (45) days after Plaintiffs

  submitted their expert liability reports, three-hundred and ninety-nine (399) days

  after Plaintiffs submitted their motion for Class Certification, and four-hundred and

  eighty-six (486) days after the close of fact discovery.

         Defendants’ own document productions (completed prior to the close of fact

  discovery), likewise undercut the Defendants’ hyperbolic sense of urgency

  contained within their motion. Defendants were made aware of the existence of this

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  Valisure Citizen’s petition in June of 2019. See, e.g., TORRENT-MDL2875-

  00403743 (attached as Exhibit B), APL-MDL-2875-0692978 (attached as Exhibit

  C), MYLAN-MDL2875-00415142 (attached as Exhibit D), ZHP02168433 (attached

  as Exhibit E), TEVA-MDL2875-00495936 (attached as Exhibit F).

        Defendants’ self-inflected wounds in not requesting this information in a

  timely manner (when the Valisure Citizen Petition has been known to them during

  the entire lifespan of this MDL) does not warrant the unprecedented re-opening of

  fact discovery in this litigation. For this reason alone the Court should quash the

  Valisure Subpoena.

            c. The Untimely Valisure Subpoena Does Not Even Meet the Baseline
               Requirements of Rule 26

        It is without question that under Rule 26, the discovery must be relevant.

  While normally a court must make its best guess as to relevance, in this case the

  Court has the benefit of hundreds hours of deposition testimony, millions of pages

  of document production, and thousands of pages of briefing and exhibits to

  determine whether testing conducted by this laboratory is relevant.

        Upon review of the full factual record developed in this case at this juncture

  (which, again, has now been closed for some time), the Court can come to no other

  conclusion that than this: internal information related to Valisure’s Valsartan testing

  is completely untethered from the litigation. First, at no point during the hundreds

  of hours of factual depositions and 30(b)(6) testimony did any party so much as ask
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  a question about Valisure, which demonstrates that Valisure’s testing has no bearing

  on any claims any Plaintiff in this litigation is making. If the Defendants were

  somehow trying to argue that Valisure’s June 2019 Citizen Petition was relevant to

  a potential defense, it is belied by the fact that the Defendants did not explore this

  possibility in any of the discovery they conducted, prior to now. Should they even

  more preposterously argue try to argue that this subpoena is relevant to the TPP

  specific litigation, Defendants did not so much as request any documents related to

  Valisure in their Rule 34 document requests to the Plaintiffs, in the subpoenas issued

  by the Defendants to SummaCare, Humana or Emblem in 2021, or in any of the

  subsequent TPP specific discovery propounded in the summer of 2022.

                    i. The Requested Documents are Immaterial and Irrelevant to
                       the Daubert Assessment of Plaintiffs’ Experts

         While Defendants’ motion argues that this Valisure information is necessary

  to conduct a comprehensive Daubert analysis of Plaintiffs’ experts, nothing within

  the Daubert case law permits the kind of wide-ranging inquiry into the internal

  testing conducted by a third party (unrelated to an expert) as a means to test that

  expert’s reliability.

                   ii. Any Marginally Relevant Information Related to Plaintiffs’
                       Expert Dr. Najafi Has Been Produced

         Defendants argue that Dr. Najafi’s contract testing for Valisure somehow

  renders the internal information within Valisure’s exclusive possession and custody

  relevant. However, Defendants’ citations to the Special Master’s order related to
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  Dr. Najafi’s production of documents have no weight as it relates to the relevance of

  Valisure third-party discovery. Defendants’ basis for the documents that were the

  subject of their previous Motion to Compel (related to Dr. Najafi) (hereafter “Najafi

  MTC”) was that information about potential testing conducted by Dr. Najafi himself

  was necessary in order to question and probe the reliability of Dr. Najafi’s own

  methods and opinions.      The Court agreed, and ordered production of these

  documents. Plaintiffs completed that production in August of this year.

                 iii. The Reliability of an Expert Cannot be Questioned on the
                      Basis of Third-Party Internal Documents

        However, having received an inch, Defendants now are poised to try and take

  this argument for a mile and argue that Dr. Najafi (and all of Plaintiffs’ liability

  experts) must be probed on the internal documents within the possession custody

  and control of Valisure. Defendants’ brief lacks any legal authority to support the

  proposition that internal documents related to a company for which an expert did not

  rely upon (let alone has never even once seen and could not access in the public

  domain), can somehow be used to probe the reliability of that expert.

        As to Dr. Najafi, it matters not that he once had a contract with Valisure with

  a limited scope of engagement – he cannot be bound by Valisure’s documents which

  he has not seen, and are not within his possession, custody or control. Were this

  discovery permissible as part of the Daubert analysis, and were the shoe on the other

  foot, Plaintiffs would be permitted to seek documents from every Postdoctoral

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  scholar supervised by ZHP’s expert Dr. Fengtian Xue or SOPs from every

  pharmaceutical company consulted by Dr. Afnan. But the reality is that Daubert

  does not permit such a wide and free-ranging inquiry into information outside of the

  public domain or expert’s possession. Defendants have already asked for, and

  received, documents in Dr. Najafi’s possession, custody and control on this very

  point. They are free to question him on those documents in the context of his expert

  opinion, along with the publicly filed Citizen Petition produced in this litigation.

  However, documents which Dr. Najafi has not relied upon (let alone even seen with

  his eyes), are completely immaterial to his opinions and report. This is even more

  true for the remaining Plaintiffs’ liability experts, who did not even so much as have

  a limited contractual relationship with Valisure.

                  iv. Defendants Have Not Even Questioned Plaintiffs’ Experts
                      About the Valisure Citizen’s Petition at Issue in the
                      Subpoena

        Defendants’ overall argument that the documents related to the Valisure

  Citizen Petition are necessary to question the validity of all the Plaintiffs’ experts is

  completely undermined by the actual discovery taken by Defendants thus far of

  Plaintiffs’ liability experts. To wit: Defendants have not even used the original

  document which forms the basis of this request – the Valisure Citizen Petition – as

  an exhibit in any of the five (5) depositions of Plaintiffs’ liability experts Defendants




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  have taken thus far. 2 As such, Defendants cannot be taken at face value when they

  claim to the Court that these documents are necessary to “fairly test the validity of

  the [Dr. Plunkett’s] report[]” when they did not even attempt to question Dr. Plunkett

  about the publicly available Valisure Citizen Petition produced by them in this

  litigation, and at issue in their subpoena.

             d. A Protective Order is Necessary to Prevent Prejudice to the
                Plaintiffs

         The Court should issue a protective order quashing the subpoena to prevent

  the Plaintiffs from experiencing real and cognizable harm and prejudice should the

  Defendants be permitted to take discovery from Valisure.


                     i. The Litigation Has Proceeded Forward with Expediency
                        Since Discovery Closed

         In terms of the timing, it is not just that the Defendants are seeking to re-open

  fact discovery well after the Court ordered it be closed – it is that since discovery

  closed, the Parties have practically litigated the entire case during this time. Indeed,

  since August 2021, the Parties have engaged3 in the following substantive briefing

  and case management events:



  2
    At the filing of this brief Defendants have completed depositions of the following liability
  experts (Russ, Craft, Panagos, Plunkett and Hecht).
  3
    At no point in time during any of the hundreds of meet-and-confers that took place in relation to
  the delineated case management events in this case did Defendants even deign to mention that they
  would be seeking additional third-party discovery about this topic, despite knowing of Valisure’s
  citizen’s petition in June of 2019.

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           1. The Parties conducted Daubert briefing and hearings with the Court on
              issues of General Causation, and the Court issued a ruling on these
              motions (completed on March 3, 2022);

           2. The Parties conducted depositions of the experts submitted in support
              to (or opposition of), the Plaintiffs’ Motion for Class Certification
              (completed April 30, 2022);

           3. The Parties conducted briefing related to the Class Plaintiffs’ Motion
              for Class Certification (completed May 10, 2022);

           4. The Plaintiffs conducted additional depositions of ZHP’s 30(b)(6)
              witnesses (completed May 27, 2022);

           5. The Parties briefed Daubert issues related to the experts submitted in
              support to (or opposition of) the Plaintiffs’ Motion for Class
              Certification (completed June 16, 2022);

           6. The Plaintiffs made a production of documents from Emery
              Pharmaceuticals (related to Dr. Najafi, one of Plaintiffs’ experts) after
              briefing with the Court and a Motion to Compel (completed August 22,
              2022);

           7. The Court issued its rulings on the proposed first trial, and set a case
              management order related to dispositive motions for that trial (issued
              August 31, 2022);

           8. The Parties fully briefed motions related to specific and more narrowly
              tailored discovery to be propounded on the TPP Plaintiffs (completed
              October 20, 2022); and

           9. The Plaintiffs submitted liability expert reports (October 31, 2022).


        Allowing Defendants to subpoena this information at this juncture will result

  in upending the entire litigation over evidence that is of no probative value or

  relevance (as discussed supra and infra).       Permitting Defendants to re-open

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  discovery, when the fact discovery period closed over a year ago (in a case poised

  for a bellwether trial in a few months), would be unduly burdensome and prejudicial

  to Plaintiffs (and Valisure) — especially when Defendants knew about Valisure

  since 2019 and did absolutely nothing about them until December 2022.

                  ii. Valisure’s Checkered Past Will Require Plaintiffs to Expend
                      Time and Resources and Result in Cognizable Harm

        In addition to the reality that Valisure’s testing has no bearing to the case and

  has in no way been developed in the factual record by any Party, were the Court to

  permit Defendants to re-open discovery as to Valisure, Plaintiffs will be required to

  expend tremendous time, money and resources engaging new expert testimony to

  assess Valisure’s laboratory operations, which have recently come under fire from

  regulatory agencies.    While Defendants characterize Plaintiffs’ skepticism of the

  testing contained in Valisure’s Citizen Petition as “sow[ing] confusion,” such

  skepticism is rooted in very real public regulatory actions which call the validity of

  the findings contained within Valisure’s Citizen Petition into question.

         On December 5,       2022, the FDA issued an untitled letter to Valisure,

  delineating a host of deficiencies that were observed by FDA inspectors related to

  their NDMA testing (the subject of Defendants’ Valisure Subpoena), including

  observations that Valisure’s methods for such testing were flawed, that it did not

  adequately address OOS testing results, that it used instrumentation which did not

  meet established specifications, and that it failed to exercise appropriate controls.
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  See 12/5/2022 Valisure Letter (attached as Exhibit G). Indeed, some the same

  Defendants here have argued in other cases that Valisure’s work is too unreliable

  even to form an “information or belief” to plead contamination in a complaint at the

  Rule 12(b)(6) stage, let alone prove it at trial. See Case 2:20-cv-02324-MCA-MAH

  Dkt. No. 132-1 (D.N.J) (Counsel for Teva and Aurobindo arguing that complaint

  related to contaminated Metformin should be dismissed because the “FDA likewise

  has called into question the testing methodology utilized by Valisure”).

        It is obvious from the full factual record that has been developed in this

  litigation that neither Plaintiffs nor Defendants intend to rely on any of the testing

  conducted by Valisure to establish the NDMA levels contained in any of the at-issue

  product. Valisure’s testing results (and/or their non-compliance with appropriate

  testing standards), might matter if Valisure were a party in this litigation, or retained

  as an expert by a party in this litigation to conduct testing. Valisure, however, is

  neither of those things.

        Furthermore, if testing were so important, one would think that Defendants

  would have conducted some of their own testing of Valsartan for litigation purposes

  in the last four-plus years of this matter. But they have not. Instead, they stand by

  their contemporaneous testing prior to this litigation, the results of which formed

  part of the bases for the FDA recalls of valsartan.




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          Consequently, should the Court permit Defendants to engage in this

  speculative fishing expedition of this unrelated entity, Plaintiffs will have no choice

  but to expend time, energy, and money in retaining experts to assess, analyze, and

  potentially dispute or discredit certain claims that Defendants might speculatively

  try to make using this irrelevant information. This puts Plaintiffs at a significant

  disadvantage, and all for material and information that would arguably be

  inadmissible in any trial set to occur. Not to mention, Plaintiffs will not have had an

  opportunity to test Defendants’ own fact and expert witnesses with the material.

     V.     CONCLUSION

          For the foregoing reasons, Plaintiffs request that the Court deny the

  Defendants’ motion to compel, and issue a protective order quashing Defendants’

  Valisure Subpoena.


   Dated: January 13, 2023                             Respectfully Submitted,

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                           CERTIFICATE OF SERVICE

        I hereby certify that on January 13, 2023, a true and correct copy of the

  foregoing was filed and served upon all counsel via operation of the CM/ECF system

  for the United States District Court for the District of New Jersey.

                                                   /s/ Layne C. Hilton
                                                   Layne C. Hilton




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